   Case 2:17-mc-50785-SFC ECF No. 5, PageID.79 Filed 11/16/21 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In Re: Sealed Matter
                                            Misc. No. 17- 50785

                                            Honorable Sean F. Cox
                               /

      MOTION TO UNSEAL SEARCH WARRANT, APPLICATION,
               AFFIDAVIT, AND ATTACHMENTS

       The United States of America, by and through its attorneys, Saima S.

Mohsin, Acting United States Attorney, and Philip A. Ross, Assistant U.S.

attorney, and respectfully requests that the Search Warrant, Application for

Search Warrant, Affidavit, and Attachments, in the above-entitled cause be

unsealed for the following reasons:

   1. The United States requires the unsealing of the above-referenced documents

      to comply with its discovery obligations.

   2. The United States is no longer concerned that unsealing the above-

      referenced documents will hinder an on-going criminal investigation.

       WHEREFORE, the government respectfully requests that said documents

 in this cause be unsealed.
   Case 2:17-mc-50785-SFC ECF No. 5, PageID.80 Filed 11/16/21 Page 2 of 2




                                        Respectfully submitted,

                                        Saima S. Mohsin
                                        Acting United States Attorney

                                         s/Philip A. Ross
                                        Philip A. Ross
                                        Assistant U.S. Attorney
                                        211 West Fort Street, Suite 2001
                                        Detroit, Michigan 48226
                                        Philip.Ross@usdoj.gov
                                        (313) 226-9790

Dated: November 16, 2021


     IT IS SO ORDERED.

                                        s/JONATHAN J.C. GREY
                                        Jonathan J.C. Grey
                                        United States Magistrate Judge

Entered: November 16, 2021
